Case 3:22-cv-00336-RAH-JTA Document 15-1 Filed 07/01/22 Page 1 of 3




                   EXHIBIT A
     Case 3:22-cv-00336-RAH-JTA Document 15-1 Filed 07/01/22 Page 2 of 3
                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF ALAMA
                                    EASTERN DIVISION

JUSTIN JOHNSON,                                     )
                                                    )
         Plaintiff,                                 )
                                                    )
         v.                                         )       Case No. 3:22-cv-00336-RAH-JTA
                                                    )
WAAWAATESI LLC,                                     )
d/b/a GREENLINE LOANS, et al.,                      )
                                                    )
                                                    )
         Defendants.                                )

                              DECLARATION OF RAQUEL BELL

         I, Raquel Bell, states as follows:

         1.     I am over the age of eighteen years. The statements contained in this declaration

are personally known to me. I am competent to testify about any of the matters contained in this

declaration.

         2.     I am currently employed by LDF Holdings, LLC, which wholly owns and operates

Waawaatesi LLC, d/b/a Greenline Loans %dGII_II\M[Qe&.

         3.     Waawaatesi LLC is a tribal corporation organized under the laws of the Lac du

Flambeau Band of Lake Superior Chippewa Indians (the dEZQJMe&' I NMLMZITTa ZMKWOVQbML =VLQIV

Tribe.

         4.     I am employed as the Compliance Manager and my physical place of employment

is located on the Reservation of the Tribe, which is located within the boundaries of the State of

Wisconsin.

         5.     I reviewed all relevant records and determined the total number of Alabama

borrowers that took out loans from Waawaatesi for the principal amount of $1500 or less from

March 28, 2018 to June 3, 2022 is 6,512.




                                                1                                    WA 12151328.1
     Case 3:22-cv-00336-RAH-JTA Document 15-1 Filed 07/01/22 Page 3 of 3
       6.      I further determined the total amount due on all loans Waawaatesi extended to

Alabama borrowers for a principal amount of $1,500 or less from March 28, 2018 to June 3, 2022

is $7,532,165.11.

       7.      I further determined that of the amount due, the total amount already collected by

Waawaatesi from Alabama borrowers on loans with a principal amount of $1,500 or less from

March 28, 2018 to June 3, 2022 is $4,030,663.78.

       8.      Based on GII_II\M[Qf[ annual lending amount to individuals in Alabama, if

Waawaatesi were to be prevented from lending in Alabama any time in the future, Waawaatesi

would lose revenue in excess of five million dollars.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

                         #"%$ 2022.
       Executed on: June ____,

                                                 ___________________
                                                 Raquel Bell




                                                2                                    WA 12151328.1


                                                                                       KC 18709730.1
